             Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 1 of 7



Chandler P. Thompson
AKERMAN LLP
170 South Main Street, Suite 725
Salt Lake City, Utah 84101
Telephone: (801) 907-6900
Facsimile: (801) 355-0294
Email: chandler.thompson@akerman.com

Taylor T. Haywood
AKERMAN LLP
1900 Sixteenth Street, Suite 1700
Denver, Colorado 80202
Telephone: (303) 260-7712
Facsimile: (303) 260-7714
Email: taylor.haywood@akerman.com

Attorneys for defendant Lakeview Loan
Servicing, LLC

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

DANIEL J. COLVIN and CENA M-M             Case No: ______________________
TECCA,

               Plaintiffs,                      NOTICE OF REMOVAL

v.

LAKEVIEW LOAN SERVICING,
LLC,

               Defendant.

         Pursuant to 28 U.S.C. §§ 1331, 1332, 1367, 1441 and 1446, defendant

Lakeview Loan Servicing, LLC gives notice of removal of Montana Sixth Judicial


                                          1
52528699;1
                Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 2 of 7



District, Park County, Cause No. DV-20-32 (the state court action) to this court.

                            I.     STATEMENT OF THE CASE

           1.      Plaintiffs Daniel J. Colvin and Cena M-M Tecca commenced the state

court action through filing a complaint on March 3, 2020. (Ex. A at 1.)

           2.      The complaint asserts claims entitled "FDCPA violation," "FCRA

violation" and "Montana state statutes for FDCPA violations." (Id.)

     II.        BASIS FOR REMOVAL: FEDERAL QUESTION & DIVERSITY

A.         Federal Question

           1.      District courts have federal question jurisdiction over "all civil actions

arising under the Constitution, laws or treaties of the United States." 28 U.S.C. §

1331.

           2.      The general rule is a case meets the "arising under" standard if it is

apparent federal law creates the plaintiff's cause of action from the face of the

complaint. See Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation

Tr. for So. Cal., 463 U.S. 1, 27-28 (1983).

           3.       This court has federal question jurisdiction because Mr. Colvin and

Ms. Tecca assert claims under the Fair Debt Collection Practices Act (FDCPA), 15

U.S.C. § 1692 et seq., and Fair Credit Reporting Act, 15 U.S.C. § 1681. (See Ex.

A at 1); see also Bennett v. Am. Med. Response, Inc., 226 Fed. App'x 725, 727 (9th

Cir. 2007) (finding the district court "properly asserted federal question


                                                2
52528699;1
              Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 3 of 7



jurisdiction" because the plaintiff alleged a "colorable claim arising under the

FDCPA.")

         4.      This court has supplemental jurisdiction over Mr. Colvin and Ms.

Tecca's remaining claim because it forms "part of the same case or controversy."

28 U.S.C. § 1367(a). A state law claim is part of the same case or controversy

when it shares a "common nucleus of operative fact" with the federal claims and

the state and federal claims would ordinarily be tried together. Bahrampour v.

R.O. Lampert, 356 F.3d 969, 978 (9th Cir. 2004). The facts related to Mr. Colvin

and Ms. Tecca's state law claim is intertwined with their FDCPA claim. (See

generally, Ex. A.)

B.       Diversity

         1.      Diversity jurisdiction exists because there is complete diversity

between the parties and the amount in controversy exceeds $75,000. 28 U.S.C. §

1332(a)(1).

         2.      Mr. Colvin and Ms. Tecca are Montana citizens. (See Ex. A at 1.)

         3.      Lakeview is a Delaware and Florida citizen. As a limited liability

company, it is a citizen of every state where its owners/members are citizens.

Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).

Its sole member is Bayview MSR Opportunity Corp., which is a Delaware

corporation with a principal place of business in Florida, making Lakeview a


                                            3
52528699;1
              Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 4 of 7



citizen of Delaware and Florida for diversity purposes. See id.; 28 U.S.C. §

1332(c)(1).

         4.      The amount in controversy requirement exceeds $75,000 because Mr.

Colvin and Ms. Tecca demand the "[f]ull [a]mount of debt . . . [t]otaling in the

[a]mount of $535,872 [] be dismissed immediately." (Ex. A at 2.)

         III.    ALL PROCEDURAL REQUIREMENTS ARE SATISFIED

         1.      Lakeview's removal is timely. 28 U.S.C. § 1446(b); Murphy Bros. v.

Michetti Pipe Stringing, Inc., 526 U.S. 334, 347-48 (1999). Mr. Colvin and Ms.

Tecca filed a return of service showing service on Lakeview on March 16, 2020.

This notice is filed within thirty days thereafter.

         2.      This court is the appropriate forum. Mr. Colvin and Ms. Tecca filed

the state court action in the Montana Sixth Judicial District Court, Park County.

This court is in the federal district embracing this district and county. 28 U.S.C. §

1441.

         3.      Venue is appropriate in the Billings division because Mr. Colvin and

Ms. Tecca appear reside in Park County and filed the state court action there. See

D. Mont. L.R. 3.2.

         4.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders filed in the state court action are attached as Exhibits A (complaint) and B




                                             4
52528699;1
              Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 5 of 7



(remaining filings)1.

         5.      Lakeview will provide written notice of removal to Mr. Colvin and

Ms. Tecca, and will file a copy of this notice with the clerk in the state court action

as 28 U.S.C. § 1446(d) and D. Mont. L.R. 3.3(a) require.

         6.      Lakeview does not waive objections to service, jurisdiction, venue, or

other defenses or objections it may have. Lakeview reserves all defenses, motions,

and pleas. Lakeview prays the state court action be removed to this court, all

further proceedings in the state court be stayed, and Lakeview receive all

additional relief to which it is entitled.

         WHEREFORE, Lakeview removes the state court action to this court.




1
 Lakeview cannot locate a copy of the summons, which is not currently on file in the state court
action.

                                               5
52528699;1
             Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 6 of 7



         Respectfully submitted, this the 6th day of April, 2020.

                                           AKERMAN LLP

                                           /s/ Taylor T. Haywood
                                           Chandler P. Thompson
                                           170 South Main Street, Suite 725
                                           Salt Lake City, Utah 84101
                                           Telephone: (801) 907-6900
                                           Facsimile: (801) 355-0294
                                           Email: chandler.thompson@akerman.com

                                           Taylor T. Haywood
                                           1900 Sixteenth Street, Suite 1700
                                           Denver, Colorado 80202
                                           Telephone: (303) 260-7712
                                           Facsimile: (303) 260-7714
                                           Email: taylor.haywood@akerman.com

                                           Attorneys for defendant Lakeview Loan
                                           Servicing, LLC




                                            6
52528699;1
             Case 1:20-cv-00040-SPW Document 1 Filed 04/06/20 Page 7 of 7



                           CERTIFICATE OF SERVICE

         I certify on the 6th day of April, 2020, a true and correct copy of the

foregoing NOTICE OF REMOVAL was filed electronically via the Court's

CM/ECF system and served via U.S. Mail, postage prepaid, addressed as follows:

Daniel J. Colvin
81 Olde Clyde Park Road
Livingston, Montana 59047

Pro se plaintiff

Cena M-M Tecca
81 Old Clyde Park Road
Livingston, Montana 59047

Pro se plaintiff


                                        /s/ Taylor T. Haywood
                                        Taylor T. Haywood




                                          7
52528699;1
